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                                                                                   U.S. DISTRICT COURT
                                                                               NORTHERN DISTRICT OF TEX.\S
                            IN THE UNITED STATES DISTRICT C~ RTF                           LED
                                    NORTHERN DISTRICT OF TJ<JXAS
                                        FORT WORTH DIVISIO                            NOV 2 7 2017
 ELSTON NATIONWIDE,                                      §            CLERK, U.S. DISI!UCJ COURT
                                                         §
         Plaintiff,                                      §
                                                         §
 vs.                                                     § CIVIL ACTION NO. 4:17-CV-00792 -A
                                                         §
 CALL US LOGISTICS, INC.,                                §
      Defendant.                                         §


                               CLERK'S ENTRY OF DEFAULT

        Colleen McCoy, attomey for Elston Nationwide, Plaintiff in the above-styled cause

("Plaintiff'), has requested that the Clerk enter default against Call US Logistics, Inc.

("Defendant") pursuant to Fed. R. Civ. P. 55 (b)(l).        Having received the record and the

Affidavit of Colleen McCoy, it is apparent that Defendant has failed to file an answer, motion

under Fed. R. Civ. P. 12(b) or 56, or otherwise defend this cause. Accordingly, Defendant's

default is hereby entered according to Fed. R. Civ. P. 55(a).

                                                     KAREN MITCHELL, CLERK OF THE UNITED
                                                     STATES DISTRICT COURT FOR THE
                                                     NORTHERN DISTRICT OF TEXAS



                                                  c~flif/Jv {&f/J?d
                                                                Deputy Clerk


After entry please return
A conformed copy to:

Colleen McCoy
Sargent Law, P.C.
1717 Main Street, Ste. 4750
Dallas, Texas 75201
Fax: (214) 749-6708



AFFIDAVIT OF COLLEEN MCCOY                                                                 Page 1 of 1
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